                     IN THE UNITED STATES DISTRICT COURT

          FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


UNITED STATES OF AMERICA              :
                                      :
                v.                    :         1:13CR255-2
                                      :
JERMAINE LONNIE BAINES                :


      GOVERNMENT’S RESPONSE TO DEFENDANT’S MOTION
   TO REDUCE SENTENCE PURSUANT TO 18 U.S.C. § 3582(c)(1)(A)(i)

      NOW COMES the United States of America, by and through Sandra J.

Hairston, United States Attorney for the Middle District of North Carolina,

and responds to Defendant Jermaine Lonnie Baines’ (“Baines”) compassionate

release motion (Docket Entry [“Dkt.”] #214), and this Court’s Text Order dated

January 25, 2022.

                       History and Prior Proceedings

      Undercover federal agents posing as couriers for a Mexican drug cartel

recorded Baines and his co-defendants as they planned the robbery of a drug

stash house. Baines was going to bring a gun and murder anyone guarding the

drugs. (See Dkt. #128, PSR ¶12) (“Jermaine Lonnie Baines responded that it

would be cleaner if they just killed everyone associated with the drug stash

house.”); (Id., PSR ¶21) (“Brian Allen Thornton and Jermaine Lonnie Baines

both stated they were going to shoot the individuals inside the stash house who




      Case 1:13-cr-00255-NCT Document 215 Filed 02/09/22 Page 1 of 12
were guarding the cocaine while the CI gathered the drugs.”); and (Id., PSR

¶22) (“Brian Allen Thornton expressed concern about the possibility of more

Mexicans who were unaccounted for interfering with them as they left the

stash house. Jermaine Lonnie Baines indicated that he was just going to kill

the Mexicans when they went into the house.”).

        The group expected to steal kilogram quantities of pure cocaine (Id., PSR

¶17), which they were going to cut into larger quantities and sell. (Id., PSR

¶21).

        Baines and his co-defendant Thornton also discussed robbing and killing

the undercover agents who were their partners in the robbery. (Id., PSR ¶22)

(“Brian Allen Thornton and Jermaine Lonnie Baines then discussed the option

of killing ‘Shawn’ and ‘Rob.’” [the undercover agents]).

        Baines and his co-defendants were arrested after they showed up to

attempt the robbery. (Id., PSR ¶33). At the time of their arrest, the group was

armed with firearms. (Id.).

        Baines pled guilty pursuant to a plea agreement to conspiracy to

interfere with commerce by robbery and possession of firearms in furtherance

of a crime of violence and a drug trafficking crime. (See Dkt. #128, PSR ¶3).

His     Presentence   Investigation   Report    applied    the   career   offender

enhancement. (Id. at ¶48). This Court sentenced him to a total prison term of

262 months. (Dkt. #77).

                                        2



        Case 1:13-cr-00255-NCT Document 215 Filed 02/09/22 Page 2 of 12
        Baines’ conviction and sentence were affirmed on direct appeal. United

States v. Baines, 597 F. App’x 156 (4th Cir. 2015). This Court subsequently

denied Baines’ post-conviction motions, including his motion pursuant to

Section 2255. (See Dkt. #198).

        On December 10,        2021, Baines filed the instant motion for

compassionate release. (Dkt. #214). This Court ordered the government to

respond and address the following issues:

        Defendant’s co-defendants had their 924(c) convictions vacated
        after United States v. Davis and were resentenced (at which time
        co-defendant Thornton was no longer a career offender and
        received a 120-month sentence); yet Defendant pled guilty to the
        superseding indictment and cannot benefit from Davis and the
        related resentencing (at which time it would appear he, too, would
        no longer be a career offender). As a result, Defendant is serving a
        262-month sentence while his co-defendant Thornton is serving a
        120-month sentence. As Defendant describes it, his sentence is
        inherently unfair and unjust “especially in relation to his co-
        defendants who[] brought [him] into the conspiracy and have had
        their sentences reduced.” Finally, despite his lengthy felonious
        criminal history including a federal conviction, Defendant alleges
        to have spent his time in the custody of the Bureau of Prisons on
        worthwhile endeavors.

(Text Order of Jan. 25, 2022).

        Baines is currently in BOP custody at USP Hazelton, located in West

Virginia. Baines is scheduled for release (including credit for good conduct

time)     on     April    3,   2032.    See     BOP     Inmate     Locator,    at

https://www.bop.gov/inmateloc/ (last accessed February 9, 2022).



                                         3



        Case 1:13-cr-00255-NCT Document 215 Filed 02/09/22 Page 3 of 12
                                   Summary

      Baines’ co-defendants had portions of their convictions vacated based on

changes to the law. Baines’ conviction remains valid. When compared to them,

Baines appears sympathetic. However, when compared against his history and

conduct, a lengthy sentence is still justified.

      This Court has the authority to order Baines’ early release. Any sentence

reduction must be based on extraordinary and compelling reasons and be

consistent with the § 3553(a) factors.

                                   Discussion

      Under     the   compassionate      release   provisions    of   18    U.S.C.

§ 3582(c)(1)(A)(i), the district court may modify or reduce an inmate’s sentence

“upon motion of the Director of the Bureau of Prisons, or upon motion of the

defendant after the defendant has fully exhausted all administrative rights to

appeal a failure of the Bureau of Prisons to bring a motion on the defendant’s

behalf or the lapse of 30 days from the receipt of such request by the warden

of the defendant’s facility, whichever is earlier[.]” 18 U.S.C. § 3582(c)(1)(A). If

this condition is met and the motion is properly before the district court, the

court must also find, after considering the factors set forth in 18 U.S.C.

§ 3553(a) to the extent that they are applicable, that “extraordinary and

compelling reasons warrant a reduction” of the defendant’s sentence.



                                         4



       Case 1:13-cr-00255-NCT Document 215 Filed 02/09/22 Page 4 of 12
      Because the Sentencing Commission has not yet updated its policy

statement since the passage of the First Step Act in December 2018, the

existing policy statement “provides helpful guidance,” but “does not constrain

the Court’s independent assessment of whether extraordinary and compelling

reasons warrant a sentence reduction under § 3582(c)(1)(A)(i).” United States

v. Beck, 425 F. Supp. 3d 573, 579 (M.D.N.C. 2019) (internal citation omitted).

      In United States v. McCoy, 981 F.3d 271, 288 (4th Cir. 2020), the Fourth

Circuit held that the policy statement found in U.S.S.G. § 1B1.13 does not

apply to compassionate release motions brought by defendants under 18 U.S.C.

§ 3582(c)(1)(A)(i). Id. at 281–84. In place of the no-longer-applicable policy

statement, McCoy permits “courts [to] make their own independent

determinations of what constitutes an ‘extraordinary and compelling

reason[...]’ under § 3582(c)(1)(A), as consistent with the statutory language[.]”

Id. at 284.

      McCoy noted, however, that § 1B1.13 “remains helpful guidance even

when motions are filed by defendants.” Id. at 282 n.7. In stating as such, McCoy

approvingly cited the Seventh Circuit’s recent decision in United States v.

Gunn, 980 F.3d 1178, 1180 (7th Cir. 2020), which similarly held that there

currently exists no applicable policy statement for compassionate release

motions brought by defendants. Nonetheless, the Seventh Circuit explained

that § 1B1.13 remains useful in framing a court’s inquiry as to what constitutes

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       Case 1:13-cr-00255-NCT Document 215 Filed 02/09/22 Page 5 of 12
“extraordinary and compelling reasons.” As it stated,

      [t]he statute itself sets the standard: only “extraordinary and
      compelling reasons” justify the release of a prisoner who is outside
      the scope of § 3582(c)(1)(A)(ii). The substantive aspects of the
      Sentencing Commission’s analysis in § 1B1.13 and its Application
      Notes provide a working definition of “extraordinary and
      compelling reasons”; a judge who strikes off on a different path
      risks an appellate holding that judicial discretion has been abused.
      In this way the Commission’s analysis can guide discretion
      without being conclusive.

Id. (citing Gall v. United States, 552 U.S. 38, 49–50 (2007); Kimbrough v.

United States, 552 U.S. 85 (2007)). Thus, although McCoy broadened district

courts’ discretion under § 3582(c)(1)(A), it envisions a system whereby courts

remain confined within a traditional discretionary framework.

      In its broadest terms, McCoy thus holds that although § 1B1.13 is no

longer the applicable policy statement for compassionate release motions

brought by inmates, defendants still must meet the “heightened standard”

required by § 3582(c)(1)(A)(i). Both before and after McCoy, defendants must

clear the “extraordinary and compelling” threshold set forth in the statute. As

McCoy put it, such relief will be granted in “truly exceptional cases[.]” Id. In

other words, the defendant must present circumstances that are “[b]eyond

what is usual, customary, regular, or common,” Extraordinary, Black’s Law

Dictionary (11th ed. 2019).

      In this case, Baines’ sentence, though lengthy, is both legally valid and

supported by his history and conduct. As this Court noted in its Text Order,

                                       6



      Case 1:13-cr-00255-NCT Document 215 Filed 02/09/22 Page 6 of 12
Baines contends that his sentence is inherently unfair and unjust “especially

in relation to his co-defendants who[] brought [him] into the conspiracy and

have had their sentences reduced.” (Text Order of Jan. 25, 2022).

      With respect to the offense conduct, it is true that Baines was brought

into the conspiracy. The PSR describes a phone call between an undercover

agent and co-defendant Thornton. “Toward the end of the phone call, Brian

Allen Thornton brought Jermaine Lonnie Baines over to listen in on the

conversation.” (Dkt. #128, PSR ¶10). However, once aware of the criminal

opportunity, Baines was both a willing and eager participant. Baines went

alone to the first in-person meeting with the undercover agents. (Dkt. #128,

PSR ¶11). Thornton was not present. Baines was also the one who first brought

up the idea of killing people during the robbery. (Dkt. #128, PSR ¶12). As

described above, Baines reiterated his willingness to kill on multiple occasions

during the course of the conspiracy.

      After their arrest, Baines and his two co-defendants were all charged in

a two-count Indictment. (Dkt. #18). Both    co-defendants   immediately    pled

guilty. In contrast, Baines rejected his plea offer, causing the government to

seek a superseding Indictment in preparation for trial. (See Sentencing

Transcript, Dkt. #91 at p. 14) (“THE DEFENDANT: … they say they was going

to give me 0- to 25-year plea bargain. I turned that down because I knew I

didn't -- I didn't possess that firearm when I got arrested. I turned that down.

                                       7



      Case 1:13-cr-00255-NCT Document 215 Filed 02/09/22 Page 7 of 12
So when I turned that down, they superseded my indictment, you know, after

I had been indicted on two charges -- original charges.”). As a result of changes

in the superseding Indictment, Baines admitted more at the time of his later

plea than his co-defendants, specifically that he possessed a firearm in

furtherance of both the attempted robbery and a drug trafficking offense. The

magistrate judge recognized in recommending the denial of Baines’ Section

2255 motion that this additional admission was material and made his case

factually distinct from his co-defendants. (See Dkt. #190, Report and

Recommendation) (“Petitioner’s § 924(c) conviction is thus materially different

from the convictions of his co-defendants and he is not similarly situated to

them.”).

      Parties negotiate based on the law as it exists at the time, and retroactive

changes in the law do not always have a uniform impact on past decisions.

There is a large and complex body of statutory and common law about the

extent to which a defendant who has already been sentenced can take

advantage of changes to the law that occur after he is sentenced.

Compassionate-release requests are not designed as vehicles to bypass that

body of law.

      In this case, Baines’ co-defendants received an unanticipated break and

he did not. The government recognizes that this difference places Baines in a

sympathetic light, particularly given that his underlying conviction of

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       Case 1:13-cr-00255-NCT Document 215 Filed 02/09/22 Page 8 of 12
conspiracy to commit Hobbs Act robbery would not result in a career offender

guideline range if sentenced today. 1 Unlike his co-defendants, however, Baines

faced an additional drug charge which carried a mandatory ten-year sentence.

The lengthy sentence he ultimately received is not extraordinarily unfair in

light of his criminal history and offense conduct.

      Nor is Baines’ post-conviction conduct extraordinarily mitigating. This

Court notes in its Text Order that the “Defendant alleges to have spent his

time in the custody of the Bureau of Prisons on worthwhile endeavors.” The

government has obtained BOP records showing that the defendant has, during

his nearly eight years in custody, completed several classes. (See Attachment

A). Baines’ participation in classes, though positive, is neither unusual nor a

guarantee of his rehabilitation. In fact, the BOP records appear to show that

Baines has taken far fewer class hours now than when he was incarcerated for

his first federal conviction and was studying for his GED. (See Attachment A,

p. 2). BOP records also show that Baines has accumulated several disciplinary

infractions during his instant incarceration. (See Attachment B). Taken as a

whole, the government suggests that Baines’ conduct while in custody does not

rise to the level of an “extraordinary and compelling” reason for his release. As

one district court persuasively stated, “prisoners are supposed to follow the


1Though his guideline range would likely be higher than his co-defendants’ as
a result of his still-valid Section 924(c) conviction.
                                       9



       Case 1:13-cr-00255-NCT Document 215 Filed 02/09/22 Page 9 of 12
rules, take classes, work at a job, and otherwise attempt to improve

themselves. That a prisoner does so means that he has met baseline

expectations, not that he has done something extraordinary....” United States

v. Logan, 2021 WL 1221481, at *5 (D. Minn. Apr. 1, 2021) (Schlitz, J.).

      Under § 3582(c)(1)(A), a court may reduce a defendant’s sentence, only

after considering the factors set forth in 18 U.S.C. § 3553(a), including whether

the defendant presents a risk of danger to the community. Here, these factors

counsel against granting a reduction to Baines, even were the court to find

extraordinary and compelling reasons. Given his history of illegal firearm

possession and the violent nature of his offense, the government submits that

Baines presents an ongoing risk of danger to the community.




                                       10



      Case 1:13-cr-00255-NCT Document 215 Filed 02/09/22 Page 10 of 12
                              CONCLUSION

     WHEREFORE, as set forth herein, the government requests that the

Court deny the motion for compassionate release.

     This, the 9th day of February, 2022.

                                   Respectfully submitted,

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                                    11



      Case 1:13-cr-00255-NCT Document 215 Filed 02/09/22 Page 11 of 12
                       CERTIFICATE OF SERVICE

     I hereby certify that on February 9, 2022, the foregoing was

electronically filed with the Clerk of the Court using the CM/ECF system, and

a copy was mailed to Defendant, as follows:

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      Case 1:13-cr-00255-NCT Document 215 Filed 02/09/22 Page 12 of 12
